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                            FUEL LINE LENDER PSA
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A.
B.
C.
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J.
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                          PUERTO RICO ELECTRIC POWER AUTHORITY

                                  NOTICE OF VOLUNTARY FILING

             FUEL LINE LENDER PLAN SUPPORT AND SETTLEMENT AGREEMENT


    Pursuant to orders of the United States District Court for the District of Puerto Rico presiding
    over the debt restructuring case of the Puerto Rico Electric Power Authority (“PREPA”) under
    Title III of the Puerto Rico Oversight, Management, and Economic Stability Act, the Financial
    Oversight and Management Board for Puerto Rico (the “FOMB”) and the Puerto Rico Fiscal
    Agency and Financial Advisory Authority (“AAFAF”) entered into mediation regarding a potential
    settlement of, among other things, PREPA’s indebtedness under certain agreements pursuant
    to which PREPA was loaned funds to purchase fuel (the “Fuel Line Loans”) by certain parties
    (collectively, the “Fuel Line Lenders”).

    On December 1, 2022, the FOMB and the Fuel Line Lenders executed a Plan Support and
    Settlement Agreement (the “FLL PSA”).

    A copy of the FLL PSA is attached hereto as Exhibit A.


    Dated: December 1, 2022


    THIS NOTICE IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
    ACCEPTANCES OF A TITLE III PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
    CODE INCORPORATED INTO PROMESA SECTION 301. ANY SUCH OFFER OR SOLICITATION WILL
    COMPLY WITH ALL APPLICABLE SECURITIES LAWS AND PROVISIONS OF PROMESA.
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                                      EXHIBIT A

                                       FLL PSA
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                                                          EXECUTION VERSION


 THIS PLAN SUPPORT AND SETTLEMENT AGREEMENT IS NOT AN OFFER WITH
 RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
 PLAN OF ADJUSTMENT FOR PURPOSES OF PROMESA, SECTIONS 1125 AND 1126
 OF THE BANKRUPTCY CODE OR OTHERWISE.        ANY SUCH OFFER OR
 SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
 AND/OR PROVISIONS OF PROMESA AND THE BANKRUPTCY CODE. NOTHING
 CONTAINED IN THIS AGREEMENT SHALL BE AN ADMISSION OF FACT OR
 LIABILITY OR, UNTIL THE OCCURRENCE OF THE AGREEMENT EFFECTIVE
 DATE ON THE TERMS DESCRIBED HEREIN, DEEMED BINDING ON ANY OF THE
 PARTIES HERETO.

 THIS PLAN SUPPORT AND SETTLEMENT AGREEMENT DOES NOT PURPORT TO
 SUMMARIZE ALL OF THE TERMS, CONDITIONS, REPRESENTATIONS,
 WARRANTIES, AND OTHER PROVISIONS WITH RESPECT TO THE
 TRANSACTIONS DESCRIBED HEREIN, WHICH TRANSACTIONS WILL BE
 SUBJECT TO THE COMPLETION OF DEFINITIVE DOCUMENTS INCORPORATING
 THE TERMS SET FORTH HEREIN AND THE CLOSING OF ANY TRANSACTION
 SHALL BE SUBJECT TO THE TERMS AND CONDITIONS SET FORTH IN SUCH
 DEFINITIVE DOCUMENTS AND THE APPROVAL RIGHTS OF THE PARTIES SET
 FORTH HEREIN AND IN SUCH DEFINITIVE DOCUMENTS.

                   PLAN SUPPORT AND SETTLEMENT AGREEMENT

         This Plan Support and Settlement Agreement (together with the exhibits attached hereto,
 which include, without limitation, the Term Sheet (as defined herein) attached hereto as Exhibit
 A, as each may be amended, restated, supplemented, or otherwise modified from time to time in
 accordance with the terms hereof, the “Agreement”) dated as of December 1, 2022 is entered into
 by and among: (i) the Financial Oversight and Management Board for Puerto Rico (the “FOMB”),
 as Title III representative of the Puerto Rico Electric Power Authority (“PREPA”) and (ii) all of
 the holders of the Fuel Line Loans (as defined herein), as identified on Annex A, as such holders
 may change from time to time in accordance with Section 5(e) (collectively, the “Fuel Line
 Lenders”, and each individually, a “Fuel Line Lender”). This Agreement collectively refers to
 FOMB and the Fuel Line Lenders as the “Parties” and the FOMB and each Fuel Line Lender
 individually as a “Party.”

                                           RECITALS

         WHEREAS, PREPA is the borrower of $700,877,093.58 (the “FLL Prepetition Claim
 Amount”) in principal amount of loans and other financial accommodations (including interest
 accrued through July 2, 2017) pursuant to (i) the Credit Agreement dated May 4, 2012, by and
 among PREPA, Scotiabank de Puerto Rico, and certain lenders (as amended, amended and
 restated, supplemented or otherwise modified from time to time, the “Scotia Line”), and (ii) the
 Trade Finance Facility Agreement, dated July 20, 2012, by and between PREPA and Citibank,
 N.A. (as amended, amended and restated, supplemented or otherwise modified from time to time,
 the “Citi Line,” and together with the Scotia Line, the “Fuel Line Facilities,” and the loans and
 advances issued under each, collectively, the “Fuel Line Loans”).


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        WHEREAS, as of the date hereof, the total outstanding principal amount of Fuel Line
 Loans that are beneficially owned by each Fuel Line Lender is set forth on their respective
 signature pages hereto.

         WHEREAS, on June 30, 2016, the Puerto Rico Oversight, Management, and Economic
 Stability Act was signed into law by the President of the United States (P.L. 114-187,
 “PROMESA”).

        WHEREAS, PROMESA established the FOMB and provided the FOMB with certain
 powers over the finances and restructuring process with respect to the Commonwealth of Puerto
 Rico and its instrumentalities as provided for in PROMESA, and the FOMB has designated PREPA
 as a Covered Territorial Instrumentality (as defined in PROMESA).

         WHEREAS, on July 2, 2017, the FOMB filed a Title III petition on behalf of PREPA (the
 “Title III Case”) with the United States District Court for the District of Puerto Rico (the “Title
 III Court”).

        WHEREAS, the FOMB is the Title III representative of PREPA in the Title III Case
 pursuant to PROMESA section 315(b).

         WHEREAS, on July 9, 2019, the Fuel Line Lenders filed a complaint and adversary
 proceeding [Adv. Pro. No. 19-00396] (the “Priority Litigation”) against the FOMB, PREPA, the
 Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”), and U.S. Bank National
 Association, in its capacity as trustee for certain power revenue bonds and power revenue
 refunding bonds issued and outstanding pursuant to the Trust Agreement, dated as of January 1,
 1974, as amended, amended and restated, supplemented or otherwise modified from time to time,
 between PREPA and U.S. Bank National Association (the “Trust Agreement”), asserting, among
 other things, that the Fuel Line Loans constitute “Current Expenses” under the Trust Agreement
 and have priority over PREPA’s bondholders.

        WHEREAS, the FOMB, PREPA, AAFAF, and other defendants in the Priority Litigation
 filed motions to dismiss the Priority Litigation, which motions were terminated without prejudice
 on September 29, 2022 [Case No. 17-4780, ECF No. 3013].

        WHEREAS, the Priority Litigation has been stayed since April 2, 2020.

         WHEREAS, the Parties have engaged in good faith, arm’s-length negotiations regarding
 the (i) consensual resolution of the Priority Litigation and (ii) principal economic terms of a
 proposed restructuring of the Fuel Line Loans to be implemented in a manner to be mutually agreed
 upon as set forth in the Term Sheet and in this Agreement.

       WHEREAS, the Parties desire to express to each other their mutual support and
 commitment with respect to a plan of adjustment for PREPA, including matters discussed in this
 Agreement.




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         NOW, THEREFORE, in consideration of the covenants herein, each Party, intending to
 be legally bound hereby, agrees as follows:

 Section 1.    Agreement Effective Date. This Agreement shall become effective and binding on
 each Party immediately upon the execution and delivery of counterpart signatures to this
 Agreement by each of the FOMB and a majority in number of the Fuel Line Lenders, beneficially
 owning or controlling, in the aggregate, at least two-thirds of the FLL Prepetition Claim Amount
 (the “Agreement Effective Date”).

 Section 2.      Settlement. In settlement of the Fuel Line Lenders’ asserted priority, rights and
 claims as set forth in the pleadings filed in the Priority Litigation and the Fuel Line Lenders’ Proofs
 of Claim, 1 the Parties agree that the PREPA Title III plan of adjustment, (a) initially filed by the
 FOMB after the date hereof and each amendment, amendment and restatement, restatement,
 supplement or modification thereto that is filed by the FOMB after the date hereof, and (b) that
 becomes effective, shall, in every case, incorporate the terms of the restructuring of the Fuel Line
 Loans set forth on the term sheet attached hereto as Exhibit A (the “Term Sheet,” and capitalized
 terms used but not otherwise defined herein shall have the meanings ascribed to them in the Term
 Sheet) and otherwise include terms and provisions (including, without limitation, conditions to
 effectiveness) reasonably satisfactory to the Fuel Line Lenders that beneficially own or control, in
 the aggregate, at least a majority in principal amount of the Fuel Line Loans beneficially owned
 or controlled, in the aggregate, by the Fuel Line Lenders at such time (the “Required Lenders”)
 as supporting claimholders (collectively, the “Plan”).

 Section 3.     Exhibits Incorporated by Reference. Each of the exhibits and schedules attached
 hereto is expressly incorporated herein and made a part of this Agreement, and all references to
 this Agreement shall include the exhibits.

 Section 4.        Covenants of the Parties.

                     (a)     Covenants of the FOMB. The FOMB shall take, and use its best efforts
 to cause PREPA to take, all actions necessary to obtain, and shall not encourage any other person
 to, take any action which would, or would reasonably be expected to, impede or preclude the filing
 of the Plan and a related disclosure statement (the “Disclosure Statement”), the approval of the
 Disclosure Statement and the entry of a confirmation order with respect to the Plan (the
 “Confirmation Order”) and the consummation, implementation and administration of the Plan,
 including the execution and delivery of all definitive documents required to implement the Plan,
 including an indenture or trust agreement governing the New Bonds (the “Definitive
 Documents”), provided that the Disclosure Statement, the Plan (and its consummation,
 implementation and administration) and the other Definitive Documents are consistent with the
 terms herein. Such actions shall include, but not be limited to: (i) filing the Plan and Disclosure
 Statement, in form and substance consistent with this Agreement and reasonably acceptable to the
 FOMB and the Required Lenders, with the Title III Court by December 9, 2022 or any later date
 as ordered by the Title III Court, subject to any subsequent amendments not inconsistent with this
 Agreement and reasonably satisfactory to the Required Lenders; (ii) prosecuting, in a timely and

 1
    The “Proofs of Claim” are the proofs of claim filed by the Fuel Line Lenders on account of the Fuel Line Loans and
 filed at proofs of claim nos. 44342, 44358, 44378, 44388, 45816, 44378, 45816.

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 appropriate manner, the approval of the Disclosure Statement and proposed confirmation schedule
 contemplating a June 2023 confirmation hearing, and confirmation of the Plan; (iii) filing a
 Confirmation Order reasonably satisfactory to the Required Lenders; (iv) causing the effective
 date of the Plan (the “Plan Effective Date”) to occur on or before December 1, 2023; (v) causing
 the Series A Bonds to be tax-exempt to the extent permitted by law (including seeking any
 appropriate no-action or clearance determination from the Internal Revenue Service); and (vi)
 refraining from directly or indirectly commencing or supporting (or continuing to prosecute) any
 action or proceeding (including in the Priority Litigation), or asserting any claim or objection,
 against any of the Fuel Line Lenders challenging their asserted priority, rights and claims as set
 forth in the pleadings filed in the Priority Litigation and the Fuel Line Lenders’ Proofs of Claim. 2
 The FOMB shall respond to reasonable requests from the advisors to the Fuel Line Lenders as to
 (x) the status and progress of the Title III Case, including, without limitation, progress in relation
 to the negotiations of the Plan and Definitive Documents and (y) the status of obtaining any
 necessary or desirable authorizations (including any consents) with respect to the Plan and
 Definitive Documents, from any competent judicial body, governmental authority, banking,
 taxation, supervisory or regulatory body. The FOMB as representative of PREPA in the Title III
 Case shall not agree that Reorganized PREPA will provide a recovery to any creditor under the
 Plan that prevents satisfaction of the Term Sheet.

                      (b)     Covenants of the Fuel Line Lenders. From and after the date hereof,
 provided that (i) this Agreement has not been terminated and (ii) none of the Disclosure Statement,
 the Plan or any of the Definitive Documents have been filed, amended or modified in a manner
 adverse to the Fuel Line Lenders and inconsistent with the provisions hereof, each of the Fuel Line
 Lenders, shall: (A) support (I) approval of the Disclosure Statement in accordance with section
 1125 of the Bankruptcy Code, and (II) confirmation of the Plan in accordance with section 1129
 of the Bankruptcy Code; (B) subject to receipt of the Disclosure Statement and other solicitation
 materials in respect of the Plan, as approved by the Title III Court, timely vote, or cause to be
 voted, all their claims to accept the Plan, in accordance with applicable orders of the Title III Court

 2
   For the avoidance of doubt, nothing in this Agreement shall preclude the Fuel Line Lenders from asserting or
 defending their rights and claims — including as to their “Current Expense” priority status — in connection with Plan
 confirmation or in any adversary proceeding filed by any party (including Adv. Pro. No. 19-00391). The Fuel Line
 Lenders shall thus be entitled to make submissions to the Title III Court in support of confirmation of the Plan and in
 connection with Adv. Pro. No. 19-00391, including submissions supporting their position that PREPA bondholders
 have at most a “net” revenue lien and claim and that the Fuel Line Lenders have enforceable priority rights vis-à-vis
 the PREPA bondholders. Notwithstanding the foregoingwhile this Agreement remains effective and prior to the
 Termination Date, the Fuel Line Lenders shall not support Sistema de Retiro de los Empleados de la Autoridad de
 Energía Eléctrica (“SREAEE”) or any other third party in opposing confirmation of the Plan, or in seeking relief in
 Adv. Pro. No. 19-00405 or any appeal therefrom (or another adversary proceeding or appeal addressing the “Current
 Expense” priority status of the claims of SREAEE or any other third party), based on SREAEE’s asserted “Current
 Expense” priority status under the Trust Agreement, provided that: (1) the FOMB, as the representative of PREPA in
 the Title III Case, shall waive any and all arguments that any claims, causes of action or positions of the Fuel Line
 Lenders are affected by any decision or order entered in litigation with SREAEE or any third party regarding the
 “Current Expense” priority, based on doctrines of issue preclusion, claim preclusion, law of the case or any similar
 doctrine; and (2) if the Termination Date occurs, the FOMB, as the representative of PREPA in the Title III Case,
 shall cooperate with the Fuel Line Lenders to set an expedited litigation schedule for disputes relating to the Fuel Line
 Lenders’ “Current Expense” priority status to be heard on the merits, and to use reasonable best efforts to ensure that
 any appeals relating to the Fuel Line Lenders’ “Current Expense” or priority status are heard by or at the same time
 as appeals relating to SREAEE’s “Current Expense” priority status. For the avoidance of doubt, the commitments
 shall survive termination of this Agreement.

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 regarding solicitation of votes on the Plan, and not change or withdraw (or cause to be changed or
 withdrawn) any such accepting vote; and (C) following the Plan Effective Date, move to dismiss
 the Priority Litigation with prejudice.

                   (c)     Mutual Covenants. Each of the Parties, severally and not jointly,
 covenants that:

                           (i) Subject to the terms and conditions hereof, such Party shall support,
                   and otherwise not encourage any other person to take any action which would,
                   or would reasonably be expected to, breach or be inconsistent with the terms
                   herein or impede or preclude the filing of the Plan, the administration of the
                   Title III Case, the approval of the Disclosure Statement, and the entry of the
                   Confirmation Order and the consummation, implementation and administration
                   of the Plan, including the execution and delivery of the Definitive Documents,
                   provided that such Disclosure Statement, Confirmation Order and Plan (and its
                   consummation, implementation and administration) and the other Definitive
                   Documents are consistent with the terms herein and the Plan.

                          (ii) Such Party shall endeavor to avoid litigation of the Fuel Line
                   Lenders’ priority prior to the Title III Court’s consideration of its settlement in
                   the Plan.

                           (iii) Such Party will cooperate and negotiate with each other in good
                   faith and exercise reasonable best efforts with respect to the pursuit, approval,
                   negotiation, execution, delivery, and implementation of the Definitive
                   Documents that effectuate the terms set forth in the Term Sheet consistent in all
                   respects with this Agreement.

                           (iv) Notwithstanding any other provision herein, this Agreement is not
                   and shall not be deemed to be an offer with respect to any securities or
                   solicitation of votes for the acceptance of a plan of adjustment for purposes of
                   PROMESA, sections 1125 and 1126 of the Bankruptcy Code or otherwise.

                           (v) Any such offer or solicitation will be made only in compliance with
                   all applicable securities laws and provisions of PROMESA and the Bankruptcy
                   Code, and will not be solicited until the Title III Court has approved the
                   Disclosure Statement and related solicitation materials, and such Disclosure
                   Statement and solicitation materials have been transmitted to parties entitled to
                   receive same.

 Section 5.     Transfer of Claims and Interests.

                      (a)    For the period commencing as of the Agreement Effective Date until
 the termination of this Agreement as to any Fuel Line Lender pursuant to the terms hereof, such
 Fuel Line Lender shall not sell, assign, transfer, or otherwise pledge or dispose of (“Transfer”)
 any Fuel Line Loans beneficially owned by such Fuel Line Lender, or any participation, voting,
 consent or direction rights related to such Fuel Line Loans, or any replacement thereof with trust
 certificates identifiable by a unique CUSIP in accordance with Section 7, except such Transfer
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 may be made (i) if the transferee is a Fuel Line Lender at the time of the Transfer or (ii) if the
 transferee is not a Fuel Line Lender at the time of the Transfer, such transferee (a transferee
 pursuant to this clause (ii) or the immediately preceding clause (i), a “Qualified Transferee”) (x)
 enters into engagement letters with the Fuel Line Lenders’ advisors without deviation from the
 engagement terms already agreed with the existing Fuel Line Lenders, if not already a party
 thereto, and (y) delivers to counsel to the FOMB and counsel to the Fuel Line Lenders, at or prior
 to the consummation of the Transfer, the joinder attached hereto as Exhibit B, pursuant to which
 such transferee shall assume all rights (including, without limitation, the right to the
 Consummation Costs, but not the right to the Professional Fee Reimbursement) and obligations
 (including, without limitation, the obligation to pay its pro rata share of fees and expenses due
 under the Fuel Line Facilities) of such Fuel Line Lender transferor hereunder (and such transferee
 if not already a Fuel Line Lender, shall also be a “Fuel Line Lender” hereunder). To the extent a
 Transfer violates the provisions of this section, the Transfer shall be void ab initio and the
 applicable Fuel Line Loans and the Fuel Line Lender attempting the Transfer of the Fuel Line
 Loans shall continue to remain subject to the terms of this Agreement. This Agreement shall in
 no way be construed to preclude any of the Fuel Line Lenders from acquiring additional Fuel Line
 Loans; provided that any such acquired Fuel Line Loans shall automatically and immediately upon
 acquisition by a Fuel Line Lender be deemed subject to all terms of this Agreement.

                      (b)     Notwithstanding anything contained in this Agreement to the contrary,
 (i) a Fuel Line Lender may Transfer any right, title or interest in the Fuel Line Loans or any trust
 certificates identifiable by a unique CUSIP for which Fuel Line Loans are exchanged in accordance
 with Section 7 to a Qualified Marketmaker (as defined below), acting in its capacity as a Qualified
 Marketmaker, without the requirement that such Qualified Marketmaker be or become a Fuel Line
 Lender; provided that such Qualified Marketmaker subsequently Transfers such right, title or
 interest in the Fuel Line Loans to a Fuel Line Lender or a Qualified Transferee within the date that
 is thirty (30) days after such Qualified Marketmaker’s acquisition of such right, title or interest;
 and (ii) to the extent that a Fuel Line Lender is acting in its capacity as a Qualified Marketmaker,
 it may Transfer any right, title or interest in the Fuel Line Loans that the Qualified Marketmaker
 acquires from a holder of the Fuel Line Loans that is not a Fuel Line Lender without the
 requirement that the transferee be or become a Fuel Line Lender.

                     (c)      “Qualified Marketmaker” means an entity that (i) holds itself out to
 the market as standing ready in the ordinary course of its business to purchase from customers and
 sell to customers debt securities such as the Fuel Line Loans or any trust certificates identifiable
 by a unique CUSIP for which Fuel Line Loans are exchanged in accordance with Section 7 or
 enter with customers into long and short positions in debt securities such as the Fuel Line Loans,
 in its capacity as a dealer or market maker in such Fuel Line Loans; (ii) is in fact regularly in the
 business of making a market in debt securities; and (iii) if transacting with respect to Fuel Line
 Loans or trust certificates identifiable by a unique CUSIP for which Fuel Line Loans are exchanged
 in accordance with Section 7, is registered with the Securities and Exchange Commission and
 Financial Institutions Regulatory Authority.

                    (d)    Any disclosures by any Fuel Line Lender to any other Party of its
 holdings of Fuel Line Loans shall be treated as confidential information by such other Party unless
 such other Party receives such information through other means that are not subject to a duty of


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 confidentiality. The foregoing shall not prohibit the FOMB from disclosing the aggregate
 principal amount of Fuel Line Loans held by the Fuel Line Lenders collectively.

                     (e)    The Fuel Line Lenders as of the date hereof are listed on Annex A
 hereto, along with their current holdings of Fuel Line Loans under each of the Fuel Line Facilities.
 Fuel Line Lenders may be added or removed from this Agreement from to time to time, in
 accordance with the terms of this Agreement upon delivery by counsel to the Fuel Line Lenders
 of a notice to the FOMB with an updated Annex A, and, in the case of the addition of a person to
 the Fuel Line Lenders who is not otherwise party to this Agreement, execution by such person of
 a joinder in the form of Exhibit B hereto and delivery of such joinder to counsel to the FOMB and
 counsel to the Fuel Line Lenders.

                    (f)      In furtherance of the foregoing, the FOMB shall take, and use its
 reasonable best efforts to cause PREPA to take, all actions necessary to consent to assignments of
 the Fuel Line Loans in accordance with the Fuel Line Facilities and this Section 5, as applicable.

 Section 6.     Representations and Warranties.

         6.01. Mutual Representations and Warranties. Each Party hereby, severally and not
 jointly, represents and warrants to the other Parties that the following statements are true and
 correct as of the date hereof (or in the case of a Qualified Transferee that is not a Fuel Line Lender
 as of the date hereof, the date such Qualified Transferee becomes a Fuel Line Lender):

                    (a)     such Party has the legal right, power and authority to enter into this
 Agreement;

                     (b)    such Party is duly organized and validly existing and in good standing
 under the laws of the jurisdiction of its organization with full power and authority to execute and
 deliver, and to perform and observe the terms and provisions of, this Agreement; and

                      (c)    the execution, delivery, performance and observance of this Agreement
 by such Party (i) has been duly authorized by all necessary action on the part of such Party, does
 not and will not conflict with, or result in a violation of, any law applicable to it, and does not
 require it to obtain any permit, consent, approval, order or authorization of, or provide notice to or
 make a filing with, any court, governmental or regulatory agency or authority or other person or
 entity that has not been obtained, provided or made, as applicable, (ii) except to the extent
 modified, stayed or otherwise excused by PROMESA, (A) with respect to the FOMB, does not
 contravene, or constitute a default under, any provision of applicable law or regulation or of any
 agreement, judgment, injunction, order, decree or other instrument binding on the FOMB, as
 applicable and (B) with respect to each Party, do not and will not violate, conflict with, or result
 in the breach of any provision of its organizational or governance documents and (iii) does not and
 will not result in any breach of, constitute a default (or event which with the giving of notice or
 lapse of time, or both, would become a default) under, require any consent under or give to others
 any rights of termination, amendment, acceleration, suspension, revocation or cancellation of, any
 note, bond, mortgage, indenture, contract, agreement, lease, sublease, license, permit, franchise or
 other instrument or arrangement to which it is a party, which would materially adversely affect its



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 ability to carry out its obligations under and otherwise observe this Agreement or cause the
 occurrence of a Termination Event.

         6.02. Additional Representations of Fuel Line Lenders. Each Fuel Line Lender severally
 and not jointly represents, warrants, and covenants to each other Party that the following
 statements are true, correct, and complete as of the date of this Agreement (or in the case of a
 Qualified Transferee that is not a Fuel Line Lender as of the date hereof, the date such Qualified
 Transferee becomes a Fuel Line Lender) (each of which is a continuing representation, warranty,
 and covenant): that it beneficially owns or has investment management responsibility for accounts
 that beneficially own Fuel Line Loans in the principal amounts set forth on its respective signature
 page hereto or joinder to this Agreement in the form of Exhibit B (as applicable), which it would
 be entitled to vote in a plan solicitation, and that it has not sold, assigned, transferred, participated
 or otherwise pledged such Fuel Line Loans, or any voting, consent or direction rights related to
 such Fuel Line Loans, to any other person or entity, that would prevent or adversely affect in any
 way such Fuel Line Lender’s performance of its obligations contained in this Agreement at the
 time such obligations are required to be performed, in each case, except as permitted by Section 5
 of this Agreement.

 Section 7.      Conversion to Trust Certificates. The FOMB covenants to employ its reasonable
 best efforts to cause the exchange of the Fuel Line Loans beneficially owned by the Fuel Line
 Lenders for trust certificates identifiable by a unique CUSIP prior to January 31, 2023. Any such
 replacement trust certificates shall remain Fuel Line Loans for all purposes of this Agreement and
 any holder thereof shall be bound by all applicable provisions of this Agreement.

 Section 8.     Amendments and Waivers. The terms and conditions of this Agreement, including
 any exhibits, annexes or schedules to this Agreement, may not be waived, modified, amended, or
 supplemented without the written consent of (a) the FOMB and (b) the Fuel Line Lenders that
 beneficially own or control, in the aggregate, at least two-thirds in principal amount of the
 aggregate amount of the Fuel Line Loans outstanding under the Fuel Line Facilities at such time;
 provided that, (i) if any material provision of the Term Sheet (or the Plan incorporating the Term
 Sheet) or of Sections 5 or 9 of this Agreement is materially amended, modified, supplemented or
 waived without the written consent of a Fuel Line Lender in a manner materially adverse to such
 Fuel Line Lender, then such Fuel Line Lender shall have the right to withdraw from this Agreement
 in accordance with Section 9.02(d) hereof and (ii) that any waiver, modification, amendment or
 supplement to this Section 8 shall require the written consent of the FOMB and each Fuel Line
 Lender.

 Section 9.      Termination.

         9.01. Mutual Consent. This Agreement may be terminated by the mutual consent of
 (a) the FOMB and (b) the Required Lenders.

         9.02.   Termination Events.

                  (a)     This Agreement may be terminated by (x) the FOMB or (y) the
 Required Lenders, in each case upon five (5) business days’ prior written notice delivered to the
 other aforementioned Parties after the occurrence of any of the following events (each, a

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 “Termination Event”); provided, however, that this Agreement may be terminated solely by the
 Required Lenders (and not the FOMB) upon the occurrence of the Termination Event set forth in
 clauses (ii), (iv), (v), (vii), (xi), (xii), (xiii) and (xiv) below, solely by the FOMB (and not the Fuel
 Line Lenders) upon the occurrence of the Termination Event set forth in clauses (vi) and (viii)
 below, and solely by a non-breaching Party (and not the other Parties) upon the occurrence of the
 Termination Event set forth in clause (i) below:

                            (i)   following the delivery of written notice thereof by a non-
 breaching Party, the occurrence of a material breach by any of the Parties of any of its obligations,
 representations, warranties, covenants or commitments set forth in this Agreement that is either
 unable to be cured or is not cured within five (5) business days following the delivery of such
 notice; provided that the FOMB cannot terminate this Agreement under this Section 9.02(a)(i) so
 long as the non-breaching Fuel Line Lenders (A) are more than one-half in number of the Fuel
 Line Lenders, (B) beneficially own or control, in the aggregate, at least two-thirds of the FLL
 Prepetition Claim Amount, and (C) the breaching Fuel Line Lender(s) or its successors do not file
 or prosecute a confirmation objection or other litigation that could render the Plan unconfirmable;

                             (ii) the FOMB publicly disavows any of the terms set forth in this
 Agreement (including on the Term Sheet) or enters into, or publicly supports, a proposed
 transaction, disclosure statement, plan of adjustment, legislation, confirmation order or definitive
 documentation in connection therewith (by amendment or otherwise) materially inconsistent with
 such terms;

                             (iii)   the dismissal of the Title III Case;

                           (iv) the determination by the FOMB (A) not to proceed with the
 transactions materially consistent with those contemplated by the Agreement or (B) to proceed
 with a transaction that would be materially inconsistent with the terms of, or the transactions
 contemplated by, this Agreement;

                             (v)     the Plan Effective Date does not occur on or before December 1,
 2023;

                             (vi) the Fuel Line Lenders cease to collectively beneficially own or
 control, in the aggregate, at least two-thirds of the FLL Prepetition Claim Amount;

                           (vii) the FOMB directly or indirectly commences or supports (or
 continues to prosecute) any action or proceeding (including in the Priority Litigation), or asserts
 any claim or objection, against any of the Fuel Line Lenders challenging their asserted priority,
 rights and claims as set forth in the pleadings filed in the Priority Litigation and the Fuel Line
 Lenders’ Proofs of Claim; provided, for the avoidance of doubt, any opposition by the FOMB to
 any priority asserted by SREAEE or any other entity shall not be a Termination Event;

                            (viii) any of the Fuel Line Lenders continues or attempts to continue
 the Priority Litigation against the FOMB or PREPA;

                           (ix) the Title III Court enters an order (A) granting any relief that
 would impair the Parties’ ability to perform their respective obligations under this Agreement in

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 any material respect, including, without limitation, denying confirmation of the Plan or (B) that is
 materially inconsistent with the Term Sheet;

                           (x)     the Title III Court approves either the Motion of the Ad Hoc
 Group of PREPA Bondholders, Assured Guaranty Corp., Assured Guaranty Municipal Corp.,
 National Public Finance Guarantee Corporation, and Syncora Guarantee, Inc. to Dismiss
 PREPA’s Title III Case, or for Relief from the Automatic Stay to Enforce Their Right to a Receiver
 (Docket Entry No. 22291 in Case No. 17-3283 and Docket Entry No. 2973 in Case No. 17-4780)
 or the Motion of the Ad Hoc Group of PREPA Bondholders, Assured Guaranty Corp., Assured
 Guaranty Municipal Corp., National Public Finance Guarantee Corporation, and Syncora
 Guarantee, Inc. for Authorization to File a Combined Motion to Dismiss PREPA’s Title III Case
 and Alternative Request for Relief from the Automatic Stay (Docket Entry No. 2971 in Case No.
 17-4780);

                            (xi)    the Puerto Rico Energy Bureau (“PREB”) denies the Transition
 Charge and the Title III Court does not require PREB to reverse its decision within sufficient time
 to allow the Plan Effective Date to occur on or before December 1, 2023;

                            (xii) the Confirmation Order is reversed, dismissed, or vacated
 without the prior written consent of the Required Lenders and the Title III Court does not within
 ninety (90) days enter a revised order confirming the Plan reasonably acceptable to the FOMB and
 the Required Lenders;

                            (xiii) the Disclosure Statement has not been approved on or before
 April 30, 2023; or

                          (xiv) the Confirmation Order has not been approved by the Title III
 Court on or before August 31, 2023.

                      (b)   This Agreement shall automatically terminate on the Plan Effective
 Date.

                     (c)    The date on which this Agreement is terminated in accordance with the
 provisions of Section 9.01, Section 9.02(a) or Section 9.02(b) shall be referred to as the
 “Termination Date”. On the Termination Date, the provisions of this Agreement shall terminate,
 except as otherwise provided in this Agreement, unless the FOMB and the Required Lenders
 waive, in writing, the occurrence of the Termination Event giving rise to the occurrence of such
 Termination Date. Notwithstanding (1) any Transfer of Fuel Line Loans in accordance with this
 Agreement or (2) the termination of this Agreement in accordance with its terms, the agreements
 and obligations of the parties in Section 10 (other than Section 10.03) and any confidentiality
 agreement in place prior to the date hereof between the FOMB and any Fuel Line Lender shall
 survive such Transfer and/or termination and shall continue in full force and effect for the benefit
 of the Parties in accordance with the terms hereof and thereof.

                   (d)    If any material provision of the Term Sheet (or the Plan incorporating
 the Term Sheet) or of Section 5 or this Section 9 is materially amended, modified, supplemented
 or waived without the written consent of a Fuel Line Lender in a manner materially adverse to
 such Fuel Line Lender, such Fuel Line Lender shall have the right to withdraw from this
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 Agreement within five (5) business days of receiving notice of such amendment, modification,
 supplement or waiver by delivering notice of such withdrawal to counsel to the FOMB and counsel
 to the Fuel Line Lenders. Such withdrawal shall be effective two (2) business days after delivery
 of such notice of withdrawal (to the extent such amendment or withdrawal are not rescinded),
 whereupon this Agreement shall terminate solely as to such Fuel Line Lender and such Fuel Line
 Lender shall no longer be a Party hereto.

                    (e)    If at any time a Fuel Line Lender is no longer the beneficial owner of
 any Fuel Line Loans subject to this Agreement as a result of a Transfer that complies with Section
 5 hereof, then this Agreement shall terminate solely as to such Fuel Line Lender, and such Fuel
 Line Lender shall no longer be a Party hereto unless and until such Fuel Line Lender subsequently
 becomes a beneficial owner of any Fuel Line Loans whereupon it will automatically be deemed to
 be a Fuel Line Lender under this Agreement.

                    (f)     No Party may terminate this Agreement upon a Termination Event if
 such Termination Event is the result of such Party unreasonably failing to perform or comply in
 any material respect with the terms and conditions of this Agreement; provided, however, that
 nothing in this Section 9 shall relieve any Party of liability for any breach or non-performance of
 this Agreement occurring prior to the Termination Date.

 Section 10.    Miscellaneous.

         10.01. Entire Agreement. This Agreement constitutes the entire agreement among the
 Parties with respect to the settlement of the Priority Litigation, the Plan, and the restructuring
 process contemplated herein and supersedes all prior oral or written agreements, statements, and
 acts among the Parties with respect thereto. Notwithstanding the forgoing, to the extent a Fuel
 Line Lender entered into a confidentiality agreement with the FOMB prior to the date hereof, the
 terms of such confidentiality agreement shall continue to apply and remain in full force and effect
 according to its terms, and this Agreement does not supersede any rights or obligations otherwise
 arising under such confidentiality agreements.

        10.02. Only Express Releases. No Party waives or releases any rights except as expressly
 provided herein.

         10.03. Further Assurances. Subject to the other terms of this Agreement, the Parties agree
 to execute and deliver such other instruments and perform such acts, in addition to the matters
 specified herein, at their own expense, as may be reasonably appropriate or necessary, or as may
 be required by order of the Title III Court from time to time, to effectuate the terms of this
 Agreement.

        10.04. Headings. The headings of all sections of this Agreement are inserted solely for
 the convenience of reference and are not a part of and are not intended to govern or limit any term
 or provision hereof. Headings may aid in interpretation solely to the extent not inconsistent with
 express provisions of this Agreement.

     10.05. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
 FORUM. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
 ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
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 CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING
 EFFECT TO ANY CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT
 IN THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION. Each Party shall
 bring any action or proceeding in respect of any claim arising out of or related to this Agreement
 in the Title III Court (or court of proper appellate jurisdiction) (the “Chosen Court”), and solely
 in connection with claims arising under this Agreement: (a) irrevocably submits to the subject
 matter and personal jurisdiction of the Chosen Court; (b) waives any objection to laying venue in
 any such action or proceeding in the Chosen Court; and (c) waives any objection that the Chosen
 Court is an inconvenient forum or does not have jurisdiction over any Party hereto. If the Title III
 Court determines it lacks subject matter jurisdiction and the determination becomes final and no
 longer subject to appeal, the action shall be brought in the United States District Court for the
 Southern District of New York if it has subject matter jurisdiction, and otherwise brought in the
 New York Supreme Court in Manhattan.

      10.06. Trial by Jury Waiver. EACH PARTY HERETO IRREVOCABLY WAIVES ANY
 AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF
 OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
 HEREBY.

         10.07. Execution of Agreement. This Agreement may be executed and delivered in any
 number of counterparts and by way of electronic signature and delivery, each such counterpart,
 when executed and delivered, shall be deemed an original, and all of which together shall constitute
 the same agreement. Except as expressly provided in this Agreement, each individual executing
 this Agreement on behalf of a Party has been duly authorized and empowered to execute and
 deliver this Agreement on behalf of said Party.

         10.08. Rules of Construction. When a reference is made in this Agreement to a section or
 exhibit, such reference shall be to a section or exhibit, respectively, of or attached to this
 Agreement unless otherwise indicated. Unless the context of this Agreement otherwise requires,
 (a) words using the singular or plural number also include the plural or singular number,
 respectively, (b) the terms “hereof,” “herein,” “hereby” and derivative or similar words refer to
 this entire Agreement, (c) the words “include,” “includes” and “including” when used herein shall
 be deemed in each case to be followed by the words “without limitation,” and (d) the word “or”
 shall not be exclusive and shall be read to mean “and/or.” “Writing,” “written” and comparable
 terms refer to printing, typing and other means of reproducing words (including electronic media)
 in a visible form, and any requirement that any notice, consent or other information shall be
 provided “in writing” shall include email. Any reference to “business day” means any day, other
 than a Saturday, a Sunday or any other day on which banks located in New York, New York are
 closed for business as a result of federal, state or local holiday and any other reference to day
 means a calendar day.

         10.09. Interpretation; Representation by Counsel. This Agreement is the product of
 negotiations among the Parties and in the enforcement or interpretation hereof, is to be interpreted
 in a neutral manner, and any presumption with regard to interpretation for or against any Party by
 reason of that Party having drafted or caused to be drafted this Agreement, or any portion hereof,
 shall not be effective in regard to the interpretation hereof. The Parties were each represented by
 counsel during the negotiations and drafting of this Agreement and continue to be represented by

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 counsel and, therefore, waive the application of any law, regulation, holding or rule of construction
 (a) providing that ambiguities in an agreement or other document shall be construed against the
 party drafting such agreement or document or (b) any Party with a defense to the enforcement of
 the terms of this Agreement against such Party based upon lack of legal counsel.

         10.10. Successors and Assigns; No Third Party Beneficiaries. This Agreement is intended
 to bind and inure to the benefit of the Parties and their respective successors and permitted assigns,
 as applicable. There are no third party beneficiaries under this Agreement, and the rights or
 obligations of any Party under this Agreement may not be assigned, delegated, or transferred to
 any other person or entity, except as permitted herein.

         10.11. Notices. All notices hereunder shall be deemed given if in writing and delivered
 by electronic mail, courier, or registered or certified mail (return receipt requested) (and if by any
 method other than electronic mail, then with a copy by electronic mail) to the following addresses
 (or at such other addresses as shall be specified by like notice):


                    (a)     if to the FOMB, to:

                                Proskauer Rose LLP
                                11 Times Square
                                New York, NY 10036
                                Attention: Martin Bienenstock, Paul V. Possinger, and Ehud Barak
                                Email: mbienenstock@proskauer.com;
                                ppossinger@proskauer.com; ebarak@proskauer.com

                    (b)     if to the Fuel Line Lenders, to:

                                Wachtell, Lipton, Rosen & Katz
                                51 West 52nd Street
                                New York, New York 10019
                                Attention: Richard Mason and Stephanie Marshak
                                Email: rgmason@wlrk.com; samarshak@wlrk.com

 or such other address as may have been furnished by a Party to each of the other Parties by notice
 given in accordance with the requirements set forth above. Any notice given by delivery, mail
 (electronic or otherwise), or courier shall be effective when received.

         10.12. Independent Analysis. Each Party confirms its decision to execute this Agreement
 has been based upon its independent assessment of documents and information available to it, as
 it has deemed appropriate.

         10.13. Waiver. Except as expressly provided herein, no Party shall be deemed to have
 waived any rights as a result of its entry into this Agreement, and, if this Agreement is terminated
 for any reason, the Parties fully reserve any and all of their rights.

         10.14. Relationship Among Parties. Notwithstanding anything herein to the contrary,
 (a) the agreements, representations, warranties, liabilities, duties, and obligations of the Parties

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 under this Agreement are, in all respects, several and not joint and several, (b) no Party shall have
 any responsibility by virtue of this Agreement for any trading by any other entity; (c) no prior
 history, pattern, or practice of sharing confidences among or between the Parties shall in any way
 affect or negate this Agreement; (d) the Parties hereto acknowledge this Agreement does not
 constitute an agreement, arrangement or understanding with respect to acting together for the
 purpose of acquiring, holding, voting or disposing of any securities of PREPA and the Parties do
 not constitute a “group” within the meaning of Rule 13d-5 under the Securities Exchange Act of
 1934, as amended; (e) none of the Parties shall have any fiduciary duty, any duty of trust or
 confidence in any form, or other duties or responsibilities in any kind or form to each other; and
 (f) no action taken by any Party pursuant to this Agreement shall be deemed to constitute or to
 create a presumption by any of the Parties that the Parties are in any way acting in concert or as
 such a “group.”

        10.15. Specific Performance. Each of the Parties acknowledges that money damages are
 an insufficient remedy for any breach of this Agreement by any Party and each non-breaching
 Party shall be entitled to seek specific performance and injunctive or other equitable relief as a
 remedy of any such breach of this Agreement, including, without limitation, an order of the Title
 III Court or such other court of competent jurisdiction requiring any Party to comply promptly
 with any of its obligations hereunder. Notwithstanding anything contained in this Agreement to
 the contrary, specific performance and injunctive or other similar relief and the right to terminate
 this Agreement in accordance with the terms and provisions hereof shall be the sole and exclusive
 remedies for any breach of this Agreement by any Party (or any other person) and no Party (or any
 other person) shall be entitled to monetary damages for any breach of any provision of this
 Agreement. For the avoidance of doubt, any consent right, termination right or withdrawal right
 provided to a Fuel Line Lender under this Agreement shall be cumulative to, and not in lieu of,
 any other consent right, termination right or withdrawal right provided to such Fuel Line Lender
 hereunder. The Parties acknowledge and agree that the giving of notice of termination by any Fuel
 Line Lender in accordance with this Agreement shall not be a violation of the automatic stay;
 provided that nothing herein shall prejudice any rights to argue that the giving of notice of
 termination was not in accordance with the terms of this Agreement.

         10.16. Severability and Construction. If any provision of this Agreement shall be held by
 a court of competent jurisdiction to be illegal, invalid, or unenforceable, in whole or in part, the
 Parties shall negotiate in good faith to modify this Agreement so as to effect the original intent of
 the Parties as closely as possible in a reasonably acceptable manner in order that the transactions
 contemplated hereby are consummated as originally contemplated to the greatest extent possible
 if the new agreement provides each Party with an economic outcome not materially adverse to its
 original economic outcome. If the same economics are not reconstructed without material change,
 this Agreement shall terminate with each Party restored to its rights upon entering into this
 Agreement.

         10.17. Public Disclosure. Any public filing of this Agreement, with the Title III Court or
 otherwise, that includes executed signature pages to this Agreement shall include such signature
 pages only in redacted form with respect to the Fuel Line Loans held by each Fuel Line Lender.
 For the avoidance of doubt, nothing in this Agreement absolves the Fuel Line Lenders from their
 duties to comply with Bankruptcy Rule 2019 and the Case Management Order in the Title III Case.


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         10.18. Settlement Discussions. This Agreement is part of a proposed settlement of matters
 that could otherwise be the subject of litigation among the Parties. This Agreement is the product
 of the mediation ordered by the Title III Court on April 8, 2022, and all negotiations relating thereto
 are subject to the Order Establishing the Terms and Conditions of Mediation (Docket Entry No.
 2773 in Case No. 17-4780), as such order is amended, restated, supplemented, or otherwise
 modified from time to time. In addition, pursuant to Rule 408 of the Federal Rules of Evidence,
 any applicable state rules of evidence and any other applicable law, foreign or domestic, this
 Agreement and all negotiations relating thereto shall not be admissible into evidence in any
 proceeding other than a proceeding to enforce its terms.

                            [Remainder of page intentionally left blank.]




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         IN WITNESS WHEREOF, the Parties have executed this Agreement on the day and
 year first above written.




                                         Financial Oversight and Management Board for
                                         Puerto Rico


                                         By:
                                                 Name: Jaime A. El Koury
                                                 Title: General Counsel




                 [Signature Page to Plan Support and Settlement Agreement]
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             [FUEL LINE LENDERS’ SINGATURE PAGES REDACTED]




               [Signature Page to Plan Support and Settlement Agreement]
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                                   Exhibit A

                                  Term Sheet
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                                                 PLAN TERM SHEET
 This Plan Term Sheet does not address all material terms that would be required in definitive documents and to
 consummate the transactions set forth in the Plan Support and Settlement Agreement (the “PSA” or the
 “Agreement”), to which this Plan Term Sheet is annexed, and this Plan Term Sheet, which terms shall be mutually
 agreed on by the Parties. Nothing in this Plan Term Sheet shall constitute a binding commitment of any Party or
 constitute an admission or representation of any fact or circumstance or an admission of any liability or waiver of
 any right or claim. Unless and until the execution of definitive documentation, the Parties shall retain their respective
 rights. If executed, the terms of such definitive documentation will control. This Plan Term Sheet is not (nor shall it
 be construed as) an offer with respect to any securities or solicitation of votes for the acceptance of a plan of
 adjustment for purposes of PROMESA, sections 1125 and 1126 of the Bankruptcy Code or otherwise.

 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the PSA.

       CLAIM                  The Fuel Line Lenders’ claims will be deemed allowed (not subject to
   ALLOWANCE AND               challenge, objection or revocation) in the FLL Prepetition Claim
   CLASSIFICATION              Amount and will collectively be treated as one class of claims, distinct
                               from all other classes of claims, without any distinction in treatment as
                               between the claims arising under the Scotia Line and the Citi Line.
        INTEREST              The Fuel Line Lenders shall be entitled to interest on the Series A
        ACCRUAL                Bonds to be issued to them under the Plan at the Exchange Ratio
                               below, the accrual of which shall commence upon the Agreement
                               Effective Date and continue through the Plan Effective Date, at a rate
                               of 6.0% per annum; provided, the amount of interest accrued prior to
                               the Plan Effective Date shall not exceed one (1) year of accrual. The
                               accrued interest hereunder shall be payable upon the Plan Effective
                               Date in the form of additional Series A Bonds or cash, at the FOMB’s
                               sole discretion.
  EXCHANGE RATIO              84% of FLL Prepetition Claim Amount, to be paid in Series A Bonds.

      NEW BONDS               Other than cash consideration paid on the Plan Effective Date,
                               reorganized PREPA (“Reorganized PREPA”) shall issue on the Plan
                               Effective Date to PREPA’s creditors only Series A Bonds, Series B
                               Bonds, or other bonds as long as such other bonds (a) are subordinate
                               in principal payment priority to the Series A Bonds, (b) do not in any
                               way affect the terms of the Series A Bonds as set forth in this Term
                               Sheet, and (c) are not secured by any collateral not pledged as security
                               for the Series A Bonds.
      TRANSITION              Transition Charge means a hybrid connection charge and volumetric
       CHARGE                  charge to be added to customers’ bills to pay the New Bonds, in
                               structure and amounts that do not change the Series A Bonds’ expected
                               repayment date and expected weighted average life as set forth herein,
                               and otherwise that are reasonably acceptable to the Required Lenders.
    SERIES A BONDS            Series A Bonds, which will be issued only to the Fuel Line Lenders,
                               will have first priority of principal repayment following payment of
                               accrued interest on all outstanding New Bonds.
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                                If unpaid at the Series A Bonds’ Final Maturity, the Series A Bonds
                                 will remain outstanding until paid in full in cash, but will cease
                                 accruing interest as of the Series A Bonds’ Final Maturity.
      SERIES B BONDS            Series B Bonds shall be distributed to (a) holders of Fuel Line Loans in
                                 an amount up to the Remaining Claims of the Fuel Line Lenders and
                                 on the satisfaction of the conditions set forth below under Treatment
                                 Protections and (b) other creditors of PREPA.
                                No principal shall be paid on the Series B Bonds until the Series A
                                 Bonds have been paid in full in cash. Thereafter, Series B Bonds shall
                                 receive 100% of the Transition Charge revenues, which shall be
                                 applied first to interest due and owing, and second to principal.
                                If unpaid at the Series B Bonds’ Final Maturity, the Series B Bonds
                                 will remain outstanding until paid in full in cash, but will cease
                                 accruing interest as of the Series B Bonds’ Final Maturity.
     FINAL MATURITY             Series A Bonds: 15 year stated final maturity 1 (5 year expected
                                 repayment; 3 year expected weighted average life).
                                Series B Bonds: 50 year stated final maturity (35 year expected
                                 repayment).
                                  Expected repayment periods are based on Fiscal Plan demand,
                                  customer data and rates included in the FOMB’s November 8, 2022
                                  proposal to the Fuel Line Lenders, subject to the Payment Waterfall.
           COUPON               Series A Bonds: 6.00% cash interest
                                Series B Bonds: 6.00% cash interest
      TAX TREATMENT             Series A Bonds: Tax-exempt
                                Series B Bonds: Tax-exempt
           CALL                 Series A Bonds: Callable after 10 years at par
        PROTECTION              Series B Bonds: Callable after 10 years at par
          SECURITY              The New Bonds shall be secured by, and paid solely from,
                                 Reorganized PREPA’s net revenues, and the right to receive such net
                                 revenues, up to the amount of the Transition Charge revenues, in
                                 accordance with the Payment Waterfall. For the avoidance of doubt,
                                 the New Bonds’ liens and claims are not limited to the net revenues
                                 deposited in the Debt Service Fund.
       ACCOUNTS AND             All revenues shall be deposited in the general fund held by
         PAYMENT                 Reorganized PREPA.
        WATERFALL



 1
     Subject to modification based on agreed upon covenants and Transition Charge, to be negotiated among the Parties.
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                               On the first business day of each month, Reorganized PREPA shall
                                apply amounts in the following order of priority (the “Payment
                                Waterfall”):
                                  -    First, to the payment of Operating Expenses; 2

                                  -    Second, to the payment of New Bond trustee fees and expenses not
                                       to exceed $100,000 per year;

                                  -    Third, to the Debt Service Fund (as defined below) up to the
                                       amount of the Transition Charge revenues (to be distributed in
                                       accordance with the provisions hereof);

                                  -    Fourth, to the payment of capital expenditures;

                                  -    Fifth, to the payment of subordinate debt (if any); and

                                  -    Sixth, for general corporate purposes.

     DEBT SERVICE              From and after the Plan Effective Date, until the New Bonds have been
        FUND                    paid or satisfied in full in accordance with their terms, Reorganized
                                PREPA shall deposit, in accordance with the Payment Waterfall,
                                monies up to the amount of the Transition Charge revenues to the
                                credit of the “Debt Service Fund” which shall be held by the New
                                Bond trustee. Such monies deposited in the Debt Service Fund shall
                                be applied, to the extent available, by the New Bond trustee:
                                           -   First, to the payment of stated interest due and payable on
                                               the New Bonds;
                                           -   Second, to the payment of principal on the Series A Bonds
                                               until repaid; and
                                           -   Third, to the payment of principal on the Series B Bonds.
     INTEREST RATE             Until the earlier of repayment of the Series A Bonds or the Final
       COVENANT                 Maturity of the Series A Bonds, if, in any given year, the Transition
                                Charge revenues deposited in the Debt Service Fund are insufficient to
                                satisfy the interest due and owing on the New Bonds that fiscal year,
                                Reorganized PREPA shall (and absent Reorganized PREPA’s action,
                                the New Bond trustee or a receiver on behalf of the New Bonds shall)
                                (a) exercise its powers to the fullest extent of the law to implement an

 2
   “Operating Expenses” shall mean Reorganized PREPA’s reasonable and necessary current expenses of maintaining,
 repairing and operating the system and shall include, without limiting the generality of the foregoing, all administrative
 expenses, insurance premiums, expenses of preliminary surveys not chargeable to capital expenditures, engineering
 expenses relating to operation and maintenance, legal expenses, any payment to pension, pension trust, or retirement
 funds, and all other expenses required to be paid by Reorganized PREPA under the provisions of the definitive
 documentation governing the New Bonds or by law, or permitted by standard practices for public utility systems, plus
 a reserve of up to two months of expenditures for the foregoing as reasonably estimated by Reorganized PREPA from
 time to time.
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                                 increase in the Transition Charge sufficient to repay such interest due
                                 and payable on the New Bonds in the succeeding fiscal year and/or (b)
                                 initiate a rate case before PREB or any other proceeding to compel
                                 PREB to implement an increase in the Transition Charge sufficient to
                                 repay such interest due and payable on the New Bonds in the
                                 succeeding fiscal year (the “Interest Rate Covenant”).
        PAYMENT               There shall be no event of default on the New Bonds for failure to pay
        DEFAULT                scheduled debt service prior to the Final Maturity, as applicable, so
                               long as Reorganized PREPA (a) charges and employs its reasonable
                               best efforts to collect revenues generated by the Transition Charge, and
                               the full amount collected under the Transition Charge is deposited into
                               the Debt Service Fund in accordance with the Payment Waterfall and
                               (b) complies with the Interest Rate Covenant.
       REMEDIES               Upon the occurrence of an event of default, the New Bond trustee’s
                               sole remedies shall be to: (a) seek enforcement of Reorganized
                               PREPA’s obligation to take reasonable measures to collect revenues
                               generated by the Transition Charge and deposit such monies received
                               into the Debt Service Fund in accordance with the Payment Waterfall,
                               and/or (b) prior to the Final Maturity, as applicable, at the request of
                               25% or more of the Series A Bonds, enforce the Interest Rate
                               Covenant.
                              The Plan and New Bond Indenture shall provide the “Right to
                               Receivership Upon Default,” codified at 22 L.P.R.A. § 207, is
                               preempted and waived. There shall be no right of acceleration under
                               the New Bonds other than an acceleration in connection with an
                               insolvency proceeding (including under Title III of PROMESA).
                              The FOMB shall use reasonable best efforts to obtain PREB approval
                               and court ordered protections for the Interest Rate Covenant and
                               Reorganized PREPA’s obligations to charge, collect, and pay
                               Transition Charge revenues as provided herein. For the avoidance of
                               doubt, reasonable best efforts with respect to the foregoing sentence
                               includes incorporating such protections in the draft Confirmation
                               Order filed with the Title III Court.
      TREATMENT               If the FOMB and PREPA prevail in, or agree to a settlement of, the
     PROTECTIONS               litigation against PREPA’s bondholders [Adv. Pro. No. 19-00391], and
                               as a result there exist Series B Bonds to be issued under the Plan
                               available for distribution in excess of Series B Bonds allocated for
                               initial treatment of claims, the Remaining Claim 3 of the Fuel Line
                               Lenders (which equals 16% of the FLL Prepetition Claim Amount)
                               will receive such excess Series B Bonds on a pro-rata basis with the

 3
    “Remaining Claim” means, with respect to any allowed claim, the amount of such allowed claim that is unpaid,
 after subtracting from the total amount of the allowed claim, the treatment, if any, such holder has received on account
 of such allowed claim at the time the Remaining Claim is calculated.
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                       Remaining Claims of unsecured creditors of PREPA (including the
                       Remaining Claims of any class of settling bondholders and pension
                       claims); provided the Fuel Line Lenders shall not receive New Bonds
                       exceeding the FLL Prepetition Claim Amount except as provided
                       below for Consummation Costs and Professional Fee Reimbursement,
                       as applicable.
    FEDERALLY-      In the event of a Federally-declared disaster as a result of a storm or
     DECLARED        other catastrophic event that disrupts Reorganized PREPA’s operations
     DISASTERS       such that Reorganized PREPA cannot collect Transition Charge
                     revenue necessary to cover Operating Expenses and the debt service
                     payable on the New Bonds for a given fiscal year, Reorganized PREPA
                     may elect, in its sole discretion, to defer debt service on up to two (2)
                     consecutive semi-annual debt service payments.
                    For the avoidance of doubt, if Reorganized PREPA exercises such
                     election, interest on the New Bonds will continue to accrete until paid.
                     All deferred principal and interest related to such Series A Bonds
                     impacted by such election shall be paid on or before the earlier of the
                     Series A Bonds’ Final Maturity or five (5) years after the end of such
                     debt service deferral period.
    DEFINITIVE         The New Bonds shall be documented under an indenture or trust
  DOCUMENTATION         agreement on the terms set forth in the Agreement and this Term
                        Sheet and otherwise on terms customary for transactions of this type,
                        as negotiated among the Fuel Line Lenders, the FOMB and other
                        prospective holders of Series B Bonds pursuant to the Plan, as
                        appropriate, which terms shall be reasonably acceptable to the FOMB
                        and the Required Lenders. Without limiting the foregoing, the New
                        Bonds, when issued, shall be subject to an “additional bonds test” to
                        be agreed upon among the Parties in the Definitive Documents.
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  CONSUMMATION      In consideration for the Fuel Line Lenders’ assistance in formulating
    COSTS AND        the plan of adjustment and to compensate for the reasonable fees and
   PROFESSIONAL      expenses incurred in negotiating and executing the Agreement, and
       FEE           definitively documenting such Agreement, the Fuel Line Lenders shall
  REIMBURSEMENT      receive (a) consummation costs of $15 million and (b) reimbursement
                     of up to $11 million in documented professional fees, payable upon the
                     Plan Effective Date in the form of additional Series A Bonds or cash,
                     at the FOMB’s sole discretion. The Consummation Costs will be
                     payable pro rata to each Fuel Line Lender, including Qualified
                     Transferees after they become Fuel Line Lenders in accordance with
                     Section 5 of the Agreement. The Professional Fee Reimbursement will
                     be allocated as follows: 10% to the Fuel Line Lender of record as of
                     the Agreement Effective Date (party to the PSA as of the Agreement
                     Effective Date) under the Citi Line and 90% to Fuel Line Lenders
                     (party to the PSA as of the Agreement Effective Date) under the Scotia
                     Line (and pro rata among such Fuel Line Lenders). For the avoidance
                     of doubt, the Professional Fee Reimbursement will not be payable to
                     Qualified Transferees.
      RELEASE       The Parties shall release each other to the maximum extent permitted
                     by law. At the request of the FOMB, the Fuel Line Lenders shall
                     release any other party in interest that may be liable on account of the
                     Fuel Line Loans.
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                                   Exhibit B

                                Form of Joinder
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                             FORM OF JOINDER AGREEMENT



         This Joinder Agreement (this “Joinder Agreement”) to the Plan Support and Settlement
 Agreement (as amended, supplemented or otherwise modified from time to time, the
 “Agreement”), dated as of December 1, 2022 by and among: (i) the Financial Oversight and
 Management Board for Puerto Rico (“FOMB”), as Title III representative of the Puerto Rico
 Electric Power Authority (“PREPA”), and (ii) all of the holders of Fuel Line Loans, as identified
 on Annex A thereto and party thereto, as such holders may change from time to time in accordance
 with Section 5(e) thereof (collectively, the “Fuel Line Lenders”), is executed and delivered by
 [____________________________________________] (the “Joining Fuel Line Lender”) as of
 _________, 202_. Each capitalized term used herein but not defined herein shall have the meaning
 set forth in the Agreement.

                 1.      Agreement to be Bound. The Joining Fuel Line Lender hereby agrees to be
 bound by all of the terms of the Agreement, including that the Joining Fuel Line Lender shall
 assume all rights (including, without limitation, the right to the Consummation Costs, but not the
 right to the Professional Fee Reimbursement) and obligations (including, without limitation, the
 obligation to pay its pro rata share of fees and expenses due under the Fuel Line Facilities) of a
 Fuel Line Lender under the Agreement. The Joining Fuel Line Lender shall hereafter be deemed
 to be a “Fuel Line Lender” and a Party for all purposes under the Agreement, including for the
 avoidance of doubt with respect to any Fuel Line Loans held by the Joining Fuel Line Lender as
 of the date of this Joinder Agreement.

                 2.      Representations and Warranties. With respect to the aggregate principal
 amount of Fuel Line Loans held by the Joining Fuel Line Lender, including upon consummation
 of Transfer of Fuel Line Loans to the Joining Fuel Line Lender, the Joining Fuel Line Lender
 hereby makes, as of the date hereof, the representations and warranties of the Fuel Line Lenders
 set forth in Sections 6.01 and 6.02 of the Agreement to each of the other Parties to the Agreement.

                 3.      Governing Law. Section 10.05 of the Agreement is incorporated by
 reference as if set forth fully herein, except that any references to “Agreement” shall be replaced
 with references to Joinder Agreement.


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       IN WITNESS WHEREOF, the Joining Fuel Line Lender has caused this Joinder
 Agreement to be executed as of the date set forth above.



                                          [NAME OF INSTITUTION]




                                          By:
                                          Name:

                                          Title:

                                          Address:

                                          Attention:

                                          Email:



 Principal amount of Fuel Line Loans beneficially owned by the Joining Fuel Line Lender, or
 beneficially owned by accounts for which the Joining Fuel Line Lender has investment
 management responsibility, which it would be entitled to vote on in a plan solicitation:
 $___________ (total)


                                        $___________ (Citi Line)

                                        $___________ (Scotia Line)




                       [Signature Page to Joinder to Preliminary RSA]
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                                    Annex A

                            List of Fuel Line Lenders



                                 [REDACTED]
